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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

BURNSIDE TOWNSHIP BOARD OF           )
SUPERVISORS,                         )   CIVIL ACTION NO. ___________________
                                     )
                  Plaintiff,         )   JUDGE    _______________________________
                                     )
     v.                              )   MAG. JUDGE _________________________
                                     )
ENERPLUS RESOURCES (USA)             )   NOTICE OF REMOVAL
CORPORATION and TESLA-               )
CONQUEST, INC.,                      )
                                     )
                  Defendants.        )


     Defendants Enerplus Resources (USA) Corporation (“Enerplus”) and
Tesla-Conquest, Inc. (“Tesla”),1 by and through their undersigned counsel,
hereby give notice that this action is removed from the Court of Common
Pleas of Centre County, Pennsylvania, where it was docketed at 755-2012.
The grounds for removal are set forth below.

     1.     On information and belief, Plaintiff, the Burnside Township Board
of Supervisors (the “Township”), filed this action in the Court of Common
Pleas of Centre County, Pennsylvania on or about February 24, 2012.
Enerplus and Tesla are the only named defendants.

     2.     Enerplus was served with the Complaint on March 2, 2012 by
transmittal, via Federal Express International Priority. See Exhibit A for a
copy of the Complaint.

1     Tesla-Conquest, Inc. underwent a name change prior to being served in
the state court matter and is now known as Tesla Exploring, Inc.
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      3.     Tesla was served with the Complaint on March 2, 2012, by
transmittal, via personal service on its registered agent.

      4.     Diversity jurisdiction provides a basis for removal to this Court.
See 28 U.S.C. §§ 1332; 1441(b); 1446.

      5.     The Township is a Township of the Second Class located in Centre
County, Pennsylvania.

      6.     Enerplus is a Delaware Corporation with its principal place of
business in Denver, Colorado.2 See Complaint, ¶2; Exhibit B, Certificate of
Authority from Pennsylvania Department of State. 3

      7.     Tesla is a Delaware Corporation with its principal place of
business in Greenwood Village, Colorado. See Complaint, ¶3.




2     A defendant's citizenship is not determined by Plaintiff's allegations.
Pullins v. Stihl, Inc., Civ. A. No. 03-CV-5343, 2004 U.S. Dist. LEXIS 9424, at *4
n.1 (E.D. Pa. May 21, 2004) (“Defendant's citizenship is not determined by
Plaintiff's allegations. Defendant has stated that it is incorporated in Delaware
and has its principal place of business in Virginia, and Plaintiff has provided
the Court with no evidence to the contrary.”).

3      Since a removing party bears the burden of proving that diversity of
citizenship exists, a party may submit as evidence documents establishing
complete diversity between the parties. Bazaar v. Peck, Civ. A. No. 96-3613,
1996 U.S. Dist. LEXIS 19693, at *4, *9 (E.D. Pa. Dec. 30, 1996). See also Reiff v.
Convergent Techs., Civ. A. No. 95-3575, 1995 U.S. Dist. LEXIS 15535, at *6-9
and n.3 (D.N.J. Oct. 20, 1995) (“If [plaintiffs] had any doubts as to whether
New Jersey is the defendants’ principal place of business, they could have
researched the issue and presented evidence of lack of diversity to the
court.”). Per local rule 7.8(d), unpublished opinions are attached.
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      8.     In order to properly remove an action to the federal district court,
complete diversity must exist between the adverse parties in the action; that
is, the citizenship of each plaintiff must be diverse from that of each
defendant. See Owen Equip. & Erection Co. v. Kroger, 437 U.S. 365 (1978), 373–
74 (1978). Diversity of citizenship is determined at the time the action is filed.
See Freeport-McMoran Inc. v. K.N. Energy Inc., 498 U.S. 426, 428 (1991).

      9.     A corporation shall be deemed to be a citizen of any state by
which it has been incorporated and of the state where it has its principal place
of business. See 28 U.S.C. § 1332(c)(1); Thompson v. Nat’l Mentor Healthcare
LLC, 3:11-CV-568, 2011 WL 1256652, at *1 (M.D. Pa. Apr. 11, 2011) (Caputo,
J.); Louis Dolente & Sons v. U.S. Fid. & Guar. Corp., 252 F.Supp. 2d 178, 180 (E.D.
Pa. 2003). Here, Defendant Enerplus is a citizen of Delaware (incorporated
there) and Colorado (principal place of business there). Defendant Tesla is a
citizen of Delaware (incorporated there) and Colorado (principal place of
business there).

      10.    The Township is a citizen of Pennsylvania.

      11.    Upon information and belief, as Plaintiff has alleged, the amount
in controversy exceeds $75,000, exclusive of costs and interest.

      12.    Accordingly, diversity jurisdiction exists.

      13.    Therefore, this action has been removed properly, as it is based
upon diversity jurisdiction.

      14.    Written notice of the filing of this Notice of Removal has been
given to the adverse party in accordance with 28 U.S.C. §1446(d) and as noted
in the attached Certificate of Service.
                                          3
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     15.   Promptly after filing with this Honorable Court, a copy of this
Notice of this Removal will be filed with the Court of Common Pleas of Centre
County, Pennsylvania in accordance with 28 U.S.C. § 1446(d).

     WHEREFORE, notice is given that this action has been removed to this
Court.

Date: March 30, 2012                Respectfully submitted:

/s/ Jeremy A. Mercer                       /s/ William C. Foster (per consent)
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Counsel for Defendant Enerplus             Counsel for Defendant Tesla-Conquest,
Resources (USA) Corporation                Inc.




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                         CERTIFICATE OF SERVICE

      I hereby certify that, on March 30, 2012, a true and correct copy of the
foregoing NOTICE OF REMOVAL was filed electronically. The undersigned
also certifies that a true and correct copy of the foregoing NOTICE OF
REMOVAL is being served, via first-class United States mail, postage prepaid,
this 30th day of March, 2012, upon the following:

                        Adam J. Witmer, Esq.
                        MILLER, KISTLER & CAMPBELL
                        124 N. Allegheny Street
                        Bellefonte, Pennsylvania 16823

                        Counsel for Plaintiff


                        William C. Foster, Esq.
                        Marshall, Dennehey, Warner, Coleman & Goggin
                        1845 Walnut Street
                        Philadelphia, Pennsylvania 19103

                        Counsel for Defendant Tesla-Conquest, Inc.


                                     /s/ Jeremy A. Mercer
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